	NO. 07-11-0335-CR
	
	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL B

	SEPTEMBER 14, 2011
	______________________________

	JOHN ANTHONY ARSOLA,

Appellant

	v.

	THE STATE OF TEXAS,

Appellee
	_______________________________

	FROM THE 108th DISTRICT COURT OF POTTER COUNTY;

	NO. 62241-E; HON. DOUGLAS R. WOODBURN, PRESIDING
	_______________________________

	ORDER OF DISMISSAL
	_______________________________

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.
	Appellant John Anthony Arsola appeals his conviction for aggravated kidnapping, enhanced.  Appellant, his attorney, and the trial court judge signed a waiver of right to appeal that states that this "is a plea-bargain case, and the defendant has NO right of appeal" and "the defendant has waived the right of appeal." This circumstance was brought to the attention of appellant and opportunity was granted him to obtain an amended certification entitling him to appeal.  No such certification was received within the time we allotted.  Having received no amended certification, we dismiss the appeal per Texas Rule of Appellate Procedure 25.2(d).


Per Curiam

Do not publish.

















